                    Case 17-12560-JKS         Doc 4876        Filed 11/27/23        Page 1 of 3




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                     Chapter 11

    WOODBRIDGE GROUP OF COMPANIES,                             Case No. 17-12560 (JKS)
    LLC, et al.,1
                                                               (Jointly Administered)
                                Remaining Debtors.



                      NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                  HEARING ON NOVEMBER 29, 2023 AT 4:00 P.M. (EASTERN TIME)2


                     THE BELOW LISTED MATTERS HAVE BEEN RESOLVED.
                         THE COURT HAS CANCELLED THE HEARING.


RESOLVED MATTERS

1.           37th Omnibus Claims Objection – Thirty-Seventh (37th) Omnibus (Non-Substantive)
             Objection to Claims Pursuant to Section 502 of the Bankruptcy Code, Bankruptcy Rule
             3007, and Local Rules 3007-1 and 3007-2 [Filed: 10/6/23] (Docket No. 4863).

             Response Deadline:      October 27, 2023 at 4:00 p.m. Eastern Time.

             Responses Received: None.

             Related Documents:

             a)      Certificate of No Objection Regarding Thirty-Seventh (37th) Omnibus (Non-
                     Substantive) Objection to Claims Pursuant to Section 502 of the Bankruptcy
                     Code, Bankruptcy Rule 3007, and Local Rules 3007-1 and 3007-2 [Filed:
                     11/10/23] (Docket No. 4868).

             b)      [Signed] Order Sustaining Thirty-Seventh (37th) Omnibus (Non-Substantive)
                     Objection to Claims Pursuant to Section 502 of the Bankruptcy Code, Bankruptcy


1
  The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
(0172). The Remaining Debtors’ mailing address is 201 N. Brand Blvd., Suite M, Glendale, California 91203.
2
  This agenda contains hyperlinks to filed documents pursuant to the Court’s Interim Order re: Cessation of Hand
Deliveries, dated March 13, 2020. Parties may access the filed documents through the hyperlink for a fee through
the Court’s website at www.deb.uscourts.gov.


DE:4857-0916-0849.1 94811.001                            1
                  Case 17-12560-JKS         Doc 4876     Filed 11/27/23    Page 2 of 3




                   Rule 3007, and Local Rules 3007-1 and 3007-2 [Filed: 11/14/23] (Docket No.
                   4873).

         Status: The order has been entered. No hearing will be necessary.

2.       38th Omnibus Objection to Claims – Thirty-Eighth (38th) Omnibus (Non-Substantive)
         Objection to Claims Pursuant to Section 502 of the Bankruptcy Code, Bankruptcy Rule
         3007, and Local Rules 3007-1 and 3007-2 [Filed: 10/6/23] (Docket No. 4864).

         Response Deadline:        October 27, 2023 at 4:00 p.m. Eastern Time.

         Responses Received: None.

         Related Documents:

         a)        Certificate of No Objection Regarding Thirty-Eighth (38th) Omnibus (Non-
                   Substantive) Objection to Claims Pursuant to Section 502 of the Bankruptcy
                   Code, Bankruptcy Rule 3007, and Local Rules 3007-1 and 3007-2 [Filed:
                   11/10/23] (Docket No. 4869).

         b)        [Signed] Order Sustaining Thirty-Eighth (38th) Omnibus (Non-Substantive)
                   Objection to Claims Pursuant to Section 502 of the Bankruptcy Code, Bankruptcy
                   Rule 3007, and Local Rules 3007-1 and 3007-2 [Filed: 11/14/23] (Docket No.
                   4874).

         Status: The order has been entered. No hearing will be necessary.




                                [Remainder of Page Intentionally Left Blank]




DE:4857-0916-0849.1 94811.001                        2
                  Case 17-12560-JKS   Doc 4876    Filed 11/27/23   Page 3 of 3




 Dated:      November 27, 2023        PACHULSKI STANG ZIEHL & JONES LLP
             Wilmington, Delaware
                                      /s/ Colin R. Robinson
                                      Richard M. Pachulski (CA Bar No. 90073)
                                      Andrew W. Caine (CA Bar No. 110345)
                                      Bradford J. Sandler (DE Bar No. 4142)
                                      Colin R. Robinson (DE Bar No. 5524)
                                      919 North Market Street, 17th Floor
                                      P.O. Box 8705
                                      Wilmington, DE 19899-8705 (Courier 19801)
                                      Telephone: (302) 652-4100
                                      Facsimile: (302) 652-4400
                                      Email: rpachulski@pszjlaw.com
                                              acaine@pszjlaw.com
                                              bsandler@pszjlaw.com
                                              crobinson@pszjlaw.com

                                      -and-

                                      KTBS Law LLP (f/k/a Klee, Tuchin, Bogdanoff & Stern LLP)
                                      Kenneth N. Klee (admitted pro hac vice)
                                      Michael L. Tuchin (admitted pro hac vice)
                                      David A. Fidler (admitted pro hac vice)
                                      Sasha M. Gurvitz (admitted pro hac vice)
                                      1801 Century Park East, 26th Floor
                                      Los Angeles, CA 90067
                                      Telephone: (310) 407-4000
                                      Facsimile: (310) 407-9090

                                      Counsel to the Woodbridge Liquidation Trust




DE:4857-0916-0849.1 94811.001                 3
